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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 20-61982-CIV-SINGHAL

  RYAN TURIZO,

         Plaintiff,

  v.

  CASSA GROVE 28, LLC d/b/a
  ZOI HOUSE APARTMENTS,

       Defendant.
  _______________________________________/

                         ORDER OF DISMISSAL WITHOUT PREJUDICE

         THIS CAUSE came before the Court on the Notice of Voluntary Dismissal filed by

  Plaintiff (DE [12]). The Court having reviewed the Notice of Voluntary Dismissal and the

  docket, it is hereby

         ORDERED AND ADJUDGED that this matter is DISMISSED WITHOUT

  PREJUDICE. The Clerk is directed to CLOSE this case and any pending motions are

  DENIED AS MOOT.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Florida, this 23rd day of

  November 2020.




  Copies to counsel of record via CM/ECF
